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                                 UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA


     In re: Kia Engine Litigation                    )   Case No.: 8:17-cv-00838-JLS-JDE
                                                     )
                                                     )
                                                     )   DECLARATION OF ADAM GONNELLI
                                                     )
                                                     )
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                                                     )



  I, Adam Gonnelli, declare as follows:
           1. I am a partner with the law firm The Sultzer Law Group and have been admitted since

  1997 to practice law in New York. I am counsel of record for plaintiffs in this case.

           2. I have personal knowledge of the facts stated below. If called upon to do so, I could

  and would competently testify thereto.

           3. I submit this declaration in support of the application for appointment of interim co-

  lead counsel under F.R.C.P. 23(g) filed by The Sultzer Law Group (“Sultzer Law”) and Sauder

  Schelkopf.

           4. I have practiced in the field of class actions and complex litigation for my entire career.

  In 2016, I joined The Sultzer Law Group as a partner. Since joining the firm, we have acted as

  lead counsel in numerous high-profile consumer fraud and false advertising class actions. For

  instance, we recently acted as lead counsel in the prosecution of the following representative

  consumer class actions:

       •    Baumgarten v. Cleanwell, LLC, (E.D.N.Y. 1:16-cv-01780)
       •    Davenport, Sumner, et al. v. Discover Financial Services, et al. (United States District
            Court for the Northern District of Illinois 15-cv-06052)
       •    Foster, Andrew Tyler et al. v. L-3 Communications EOTECH, Inc., et al. (United States
            District Court Western District of Missouri 15-cv-03519)

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       •    Hecht, Shea, et al. v. Wells Fargo Bank, N.A., et al. (E.D.N.Y. 15-cv-02338)
       •    Kaatz, Marie and Gagliardi, Abigail, et al. v. Hyland's Inc., et al. (S.D.N.Y. 16-cv-
            00237)
       •    Markos, Jaish et al. v. Russell Brands, LLC (S.D.N.Y. 16-cv-4362)
       •    Nicotra, Jennifer et al. v. Babo Botanicals, LLC (E.D.N.Y. 16-cv-00296)
       •     Principe, Mark et al. v. Edison Nation, LLC et al. (E.D.N.Y. 15-cv-05453)
       •     Rapoport-Hecht, Tziva, Tsan, Maggie, and Wildstein, Erica et al. v. Seventh
            Generation, Inc. (S.D.N.Y 14-cv-09087)
       •    Run Them Sweet, LLC v. CPA Global, Ltd., et al, (United States District Court Eastern
            District of Virginia 1:16-cv-1347)
       •    Silva, Christopher et al. v. Smucker Natural Foods, Inc. and J.M. Smucker Co.
            (E.D.N.Y. 14-cv-6154)
       •    Vincent, Wesley, et al. v People Against Dirty, PBC. and Method Products, PBC.,
            (S.D.N.Y. 7:16-cv-06936-NSR)
           5. Sultzer Law is headquartered in New York, and maintains offices in New Jersey and

  Pennsylvania. The firm is included in Martindale-Hubbell's Bar Register of Preeminent Lawyers

  for its class action practice. The firm’s class action practice has been featured in numerous

  publications, including Law360, Inside Counsel Magazine, Risk Management Magazine, and

  CNBC News. In addition, the attorneys within the firm have written and lectured extensively on

  class action practice. Attached to this Declaration as Exhibit A is a true and correct copy of our

  firm resume.

           6. Sultzer Law is well positioned to serve as interim co-lead counsel in view of its

  attorneys’ decades of experience successfully litigating class actions as plaintiff’s counsel and as

  defense counsel.

           7. For the reasons stated above, I submit that appointment of The Sultzer Law Group and

  Sauder Schelkopf would be in the best interests of the plaintiffs and the class.




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         I declare under penalty of perjury under the laws of the United States of America that the
  foregoing is true and correct.


  Executed this 17th day of April, 2018 at Red Bank, New Jersey.


                                                      /s/ Adam Gonnelli
                                                      Adam Gonnelli, Esq.
                                                      The Sultzer Law Group, P.C.
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                                                      Red Bank, NJ 07701
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                                                      Facsimile: (888) 749-7747




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